Case 20-20531 Doci14 Filed 04/17/20 Entered 04/17/20 12:35:52 Page 1 of 23

Fill in this information to identify the case:

Debtorname Mystic Transportation, LTD

United States Bankruptcy Court forthe: DISTRICT OF CONNECTICUT

 

Case number (ifknown) 20-20531

 

OO Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12/45

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

 

CINo. Go to Part 2.

Wl Yes Fill in the information below.
All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

 

 

 

3. Checking, savings, money market, or financial brokerage accounts (Identify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. People’s United Bank Checking 2752 $9,859.65
4. Other cash equivalents (/dentify al)
5, Total of Part 1. $9,859.65

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

 

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

 

HE No. Goto Part 3.
Yes Fill in the information below.

Accounts receivable
10. Does the debtor have any accounts receivable?

 

[I] No. Go to Part 4.
Wl Yes Fill in the information below.

 

 

41. Accounts receivable
11a. 90 days old or less: 1,040.21 - 0.00 =... $1,040.21
face amount doubtful or uncollectible accounts
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1

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Debtor Mystic Transportation, LTD

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Name

15,094.22

 

Case number (ff known) 20-20531

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11a. 90 days old or less: 0.00 = $15,094.22
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 590.00 0.00 = $590.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 16,220.14 0.00 = $16,220.14
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 1,282.62 0.00 = $1,282.62
face amount doubtful or uncoilectible accounts

11a. 90 days old or less: 12,269.94 0.00 = $12,269.94
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 64,819.74 0.00 = $64,819.74
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 1,250.00 0.00 = $1,250.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 1,784.35 0.00 = $1,784.35
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 225.00 0.00 = $225.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 530.03 0.00 = $530.03
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 20,308.94 0.00 = $20,308.94
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 957.50 0.00 = $957.50
face amount doubiful or uncollectible accounts

11a. 90 days old or less: 1,350.00 0.00 = $1,350.00
face amount doubtful or uncollectible accounts

11a. 90 days old or less: 125.00 0.00 = $125.00
face amount doubtful or uncollectible accounts

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Debtor

Mystic Transportation, LTD

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Name

 

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Case number (if known) 20-20531

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11a. 90 days old or less: 450.00 - 0.00 = $450.00
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 1,275.00 - 0.00 = $1,275.00
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 13,047.92 - 0.00 = $13,047.92
face amount doubtful or uncollectible accounts
11a. 90 days old or less: §,317.09- 0.00 = $5,317.09
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 2,645.09 - 0.00 = $2,645.09
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 1,460.13 - 0.00 = $1,460.13
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 790.00 - 0.00 = $790.00
face amount doubtful or uncollectible accounts
11a. 90 days old or less: 1,670.00 - 0.00 = $1,670.00
face amount doubtful or uncollectible accounts
12. Total of Part 3. $164,502.92
Current value on lines 11a + 11b = line 12. Copy the total to line 82.
eee Investments
13. Does the debtor own any investments?
Hi No. Go to Part 5.
(1 Yes Fill in the information below.
Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
HE No. Goto Part 6.
Cl Yes Fill in the information below.
oe Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
MI No. Go to Part 7.
C] Yes Fill in the information below.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

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Debtor Mystic Transportation, LTD
Name

 

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

CI No. Go to Part 8.
Ml Yes Fill in the information below.

General description Net book value of
debtor's interest

(Where available)

Case number (/f known) 20-20531

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Valuation method used
for current value

Current value of
debtor's interest

 

 

 

39. Office furniture
Office furniture $0.00 $11,646.00
40. Office fixtures
41. Office equipment, including all computer equipment and
communication systems equipment and software
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
collections; other collections, memorabilia, or collectibles
43. Total of Part 7. $11,646.00

Add lines 39 through 42. Copy the total to line 86.

44. ls a depreciation schedule available for any of the property listed in Part 7?
MNo
O Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
HNo
OC Yes

Machinery, equipment, and vehicles

 

 

 

 

46. Does the debtor own or lease any machinery, equipment, or vehicles?

CI] No. Go to Part 9.
Mi Yes Fill in the information below.
Net book value of

debtor's interest
(Where available)

General description
Include year, make, model, and identification numbers
(i.e., VIN, HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2016 Freightliner M2106, VIN

Valuation method used
for current value

Current value of
debtor's interest

 

 

 

 

 

 

 

 

1FVACWDTXGHHG9431 $0.00  Quote/retailer $7,500.00
47.2. 2016 Freightliner 1CA125DC EVO, VIN
3ALKGED5XGDGY1767 $0.00 Quote/retailer $45,000.00
47.3. 2019 Freightliner M2106, VIN ;
3AKJHLFG8KSKS1959 $0.00 Quote/retailer $71,000.00
47.4. 2017 Hyundai Trailer, VIN .
3H3V532COHT450068 $0.00 Quote/retailer $12,000.00
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4

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Best Case Bankruptcy
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Debtor Mystic Transportation, LTD Case number (if known) 20-20531
Name
47.5. 2007 Hyundai Trailer, VIN
3H3V532C97T059015 $0.00  Quote/retailer $2,500.00
47.6. 2013 Fontaine Trailer, VIN
13N248201D1562316 $0.00 Quote/retailer $9,000.00
47.7. 2014 Hyundai Trailer $0.00 $0.00
47.8. 2015 Dodge RAM Promaster 2, VIN
3C6TRVDG9FE501788 $0.00  Quote/retailer $1,500.00
47.9. 2019 Ford T-150 Econoline, VIN
1FTYE1YM1KKA45604 $0.00 Quote/retailer $11,314.00
47.10 : .
2016 Hyundai Trailer $0.00  Quote/retailer $0.00
47.11 2020 Freightliner M2 106, VIN
. 3ALACXD23LDLX6580 $0.00 Quote/retailer $74,500.00
47.12 2007 53 ' Hyundai Trailer, VIN
. 3H3V532C67T059022 $0.00 Quote/retailer $2,500.00
47.13 2015 Freighliner M2106,VIN ;
1FVACWDT2FHGS 1163 (totaled) $0.00 Quote/retailer $0.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
floating homes, personal watercraft, and fishing vessels
49. Aircraft and accessories
50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)
51. Total of Part 8. $236,814.00
Add lines 47 through 50. Copy the total to line 87.
52. Is a depreciation schedule available for any of the property listed in Part 8?
MNo
C] Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
MNo
Cl Yes
cece Real property
54. Does the debtor own or lease any real property?
C1 No. Go to Part 10.
@ Yes Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 5

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Debtor Mystic Transportation, LTD Case number (if known) 20-20531
Name
Description and location of Nature and Net book value of Valuation method used Current value of
property extent of debtor's interest for current value debtor's interest
Include street address or other debtor's interest (Where available)
description such as Assessor in property

Parcel Number (APN), and type
of property (for exarnple,
acreage, factory, warehouse,
apartment or office building, if

 

 

 

available.
55.1.
Cove Real Estate,
LLC Lease $0.00 $0.00
56. Total of Part 9. $0.00

 

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.

 

 

Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
MNo
0 Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
BNo
Cl Yes

Sela en Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

 

WE No. Goto Part 11.
(] Yes Fill in the information below.

Part 114: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

CO No. Go to Part 12.
lM Yes Fill in the information below.

Current value of
debtor's interest

 

71. Notes receivable
Description (include name of obligor)
Contributory negligence and other 0.00 - 0.00 =
claims aginast potential personal Total face amount doubtful or uncollectible amount

injury plaintiffs and others for

incidents in Connecicut and Rhode

Island in calendar year 2019.

Unliquidated. $0.00

 

 

72. Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit
has been filed)

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 6
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Debtor Mystic Transportation, LTD Case number (if known) 20-20531
Name
75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
76. Trusts, equitable or future interests in property
77. Other property of any kind not already listed Examples: Season tickets,
country club membership
78. Total of Part 11. $0.00
Add lines 71 through 77. Copy the total to line 90.
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
MNo
Cl Yes
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 7

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Debtor Mystic Transportation, LTD Case number (if known) 20-20534

 

Name

EERE summary

in Part 12 copy all of the totals from the earlier parts. o' of the > form.

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘Tyee: oF Epeney , ‘Current value of Current value of real
me personal property “property: : :

80. Cash, cash equivalents, and financial assets.

Copy line 5, Part 1 $9,859.65
81. Deposits and prepayments. Copy line 9, Part 2. $0.00
82. Accounts receivable. Copy line 12, Part 3. $164,502.92
83. Investments. Copy line 17, Part 4. $0.00
84. Inventory. Copy line 23, Part 5. $0.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; and collectibles.

Copy line 43, Part 7. «$11,646.00.
87. Machinery, equipment, and vehicles. Copy fine 51, Part 8. $236,814.00
88. Real property. Copy line 56, Part Qo. ccc ecces cece eectecesenseecseseesstesasseserststesetinesssa > $0.00
89. Intangibles and intellectual property. Copy line 66, Part 10. $0.00
90. All other assets. Copy line 78, Part 11. + $0.00
91. Total. Add lines 80 through 90 for each column $422,822.57 | + 91b. $0.00
92. Total of all property on Schedule A/B. Add lines 91a+91b=92 $422,822.57
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 8

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Fill in this information to identify the case:

Debtor name

Mystic Transportation, LTD

United States Bankruptcy Court forthe: DISTRICT OF CONNECTICUT

 

Case number (ifknown) 20-20531

 

Ci Check if this is an
amended filing

 

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
CD) No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
@ Yes. Fill in all of the information below.

List Creditors Who Have Secured Claims

2. List in alphabetical order all creditors who have secured claims. if a creditor has more than one secured
claim, list the creditor separately for each claim.

Column A Column B

Amount of claim Value of collateral

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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that supports this
Do not deduct the value claim
_ of collateral.
[2.1 | Ally Financial Inc. Describe debtor's property that is subject to a lien $24,484.92 $11,314.00
Creditor's Name 2019 Ford T-150 Econoline, VIN
Att: President or CEO TFTYE1YM1KKA45604
P.O. Box 380902
Minneapolis, MN 55438
Creditor's mailing address Describe the lien
Is the creditor an insider or related party?
Mino
Creditor's email address, if known oO Yes
Is anyone else liable on this claim?
Date debt was incurred Mino
C1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
MNno Ci contingent
OD ves. Specify each creditor, CD unliquidated
including this creditor and its relative CO Disputed
priority.
2.2 | Bank Capital Services Describe debtor's property that is subject to a lien $10,073.14 $12,000.00
Creditor's Name 2017 Hyundai Trailer, VIN
Attn: President/Partner 3H3V532COHT450068
1853 Hwy 315
Pittston, PA 18640
Creditor's mailing address Describe the lien
Is the creditor an insider or related party?
Bno
Creditor’s email address, if known Oo Yes
Is anyone else liable on this claim?
Date debt was incurred a No
Cl Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ail that apply
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 4

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Debtor Mystic Transportation, LTD Case number (if known) 20-20531
Name
CO No O Contingent
WM Yes. Specify each creditor, C1 unliquidated
including this creditor and its relative oO Disputed
priority.
1. Bank Capital Services
2. Bank Capital Services
2.3 | Bank Capital Services Describe debtor's property that is subject to a lien $13,849.14 $12,000.00
Creditors Name 2017 Hyundai Trailer, VIN
Attn: President/Partner 3H3V532COHT450068
1853 Hwy 315
Pittston, PA 18640
Creditor's mailing address Describe the lien
is the creditor an insider or related party?
Bno
Creditor's email address, if known oO Yes
Is anyone else liable on this claim?
Date debt was incurred a No
Cl Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
O No Cj Contingent
MM ves. Specify each creditor, C] unliquidated
including this creditor and its relative O Disputed
priority.
Specified on line 2.2
2.4 | Mercedes Benz Financial Describe debtor's property that is subject to a lien $27,034.40 $7,500.00
Creditors Name 2016 Freightliner M2106, VIN
Attn: President/Partner 1FVACWDTXGHHG9431
PO Box 5260
Carol Stream, IL 60197
Creditor's mailing address Describe the lien
ts the creditor an insider or related party?
Eno
Creditor's email address, if known (Cl yes
Is anyone else liable on this claim?
Date debt was incurred a No
Cl Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Bo CQ contingent
C1 Yes. Specify each creditor, CI unliquidated
including this creditor and its relative Oo Disputed
priority.
2.5 |Mercedes Benz Financial Describe debtor's property that is subject to a lien $73,110.44 $74,500.00
Creditor's Name 2020 Freightliner M2 106, VIN
Attn: President/Partner 3ALACXD23LDLX6580
PO Box 5260
Carol Stream, IL 60197
Creditor'’s mailing address Describe the lien
Is the creditor an insider or related party?
MH No
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 4

Best Case Bankruptcy
Debtor

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Mystic Transportation, LTD Case number (it known) 20-20531
Name
Creditor's email address, if known O Yes
fs anyone else liable on this claim?
Date debt was incurred Hino
O Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Bno [3 Contingent
O Yes. Specify each creditor, O) unliquidated
including this creditor and its relative Oo Disputed
priority.
[2.6 |Mercedes Benz Financial Describe debtor's property that is subject to a lien $48,319.53 $45,000.00
Creditors Name 2016 Freightliner 1CA125DC EVO, VIN
Attn: President/Partner 3ALKGED5XGDGY1767
PO Box 5260
Carol Stream, IL 60197
Creditor's mailing address Describe the lien
Is the creditor an insider or related party?
B no
Creditor's email address, if known QO Yes
Is anyone else liable on this claim?
Date debt was incurred no
D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Bno CI Contingent
O ves. Specify each creditor, D1 unliquidated
including this creditor and its relative O Disputed
priority.
2.7 |Mercedes Benz Financial Describe debtor's property that is subject to a lien $75,282.70 $71,000.00
Creditor's Name 2019 Freightliner M2106, VIN
Attn: President/Partner 3AKJHLFG8KSKS1959
PO Box 5260
Carol Stream, IL 60197
Creditor's mailing address Describe the lien
Is the creditor an insider or related party?
BM no
Creditor's email address, if known C] Yes
Is anyone else liable on this claim?
Date debt was incurred Bno
C Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multipte creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Hino O Contingent
C1 Yes. Specify each creditor, C1 unliquidated
including this creditor and its relative oO Disputed
priority.
Mercedes Benz Financial Describe debtor's property that is subject to a lien $13,083.32 $0.00
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 of 4

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Debtor Mystic Transportation, LTD Case number (i known)

Name

 

Creditor's Name

2015 Freighliner M2106,VIN

Attn: President/Partner 1FVACWDT2FHGS1163 (totaled)

PO Box 5260

 

Carol Stream, IL 60197

 

Creditor's mailing address

Describe the lien

 

Is the creditor an insider or related party?

Mino

 

Creditor's email address, if known oO Yes

Date debt was incurred

is anyone else liable on this claim?
Hino
O ves. Fill out Schedule H: Codebtors (Official Form 206H)

Last 4 digits of account number

 

Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply

Hino CI contingent

C Yes. Specify each creditor, D unliquidated

including this creditor and its relative Oo Disputed

priority.

 

20-20531

 

 

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.

List Others to Be Notified for a Debt Already Listed in Part 4

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

$285,237.59

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
On which fine in Part 1 did Last 4 digits of
you enter the related creditor? account number for

Name and address

 

Official Form 206D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

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this entity

page 4 of 4

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Fill in this information to identify the case:

Debtorname Mystic Transportation, LTD

United States Bankruptcy Court forthe: DISTRICT OF CONNECTICUT

 

Case number (ifknown) 20-20531

 

[J Check if this is an
amended filing

 

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

CO No. Go to Part 2.

Mf ves. Go to line 2.

2. Listin alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. if the debtor has more than 3 creditors
with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 

 

 

 

 

 

 

 

Total claim Priority amount

Priority creditor's name and mailing address As of the petition filing date, the claim is: $0.00 $0.00

Commissioner of Taxation/Finan Check ail that apply.

Bankruptcy Section C1 Contingent

PO Box 12205 — Wi uniiquicated

Albany, NY 12205 CD Disputed

Date or dates debt was incurred Basis for the claim:

Last 4 digits of account number Is the claim subject to offset?

Specify Code subsection of PRIORITY Mino

unsecured claim: 11 U.S.C. § 507(a) (8)

CI ves

Priority creditor's name and mailing address As of the petition filing date, the claim is: $0.00 $0.00

Department of Revenue Services Check alf that apply.

Att: Revenue Agent C1 Contingent

C&E Division/Bankruptcy Sectio C] Untiquidated

450 Columbus Boulevard CO Disputed

Hartford, CT 06103

Date or dates debt was incurred Basis for the claim:

Last 4 digits of account number Is the claim subject to offset?

Specify Code subsection of PRIORITY Ho

unsecured claim: 11 U.S.C. § 507(a) (8)

CO yes

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 7

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49506 Best Case Bankruptcy
Case 20-20531 Doc 14

Debtor

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Mystic Transportation, LTD Case number (if known) 20-20531
Name
Priority creditor's name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
Internal Revenue Service Check all that apply.
Att: Revenue Agent C1 Contingent
135 High Street 0 unliquidated
Mail Stop 155 CO) disputed
Hartford, CT 06103
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account number Is the claim subject to offset?
Specify Code subsection of PRIORITY MNo
unsecured claim: 11 U.S.C. § 507(a) (8)
C Yes
Priority creditor's name and mailing address As of the petition filing date, the claim is: $0.00 $0.00

Tax Collector, Stonington
Attn: Revenue Officer
152 Elm Street
Stonington, CT 06378

 

Date or dates debt was incurred

Check ail that apply.
O Contingent

C1 unliquidated

oO Disputed

Basis for the claim:

 

 

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?

no
Cl ves

 

Genel List All Creditors with NONPRIORITY Unsecured Claims
3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.

Amount of claim

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply $0.00
AAA C) contingent
Attn: President/CEO Oo Unliquidated
P.O. Box 15019 1 pisputed
Wilmington, DE 19850-5090 .
; Basis for the claim: Business Debt
Date(s) debt was incurred __ ns
Last 4 digits of account number _ Is the claim subject to offset? Mn O Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $476.92
Bank Capital Services C1 Contingent
Attn: President/Partner O Unliquidated
1853 Hwy 315 a Disputed
Pittston, PA 18640 ;
; Basis for the claim: Business Debt
Date(s) debt was incurred __
Last 4 digits of account number _ Is the claim subject to offset? a No [] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $2,266.07
Bank of America ; O contingent
Att: Pres. or Other Officer C] Uniiquidated
100 North Tryon Street O pisputed
Charlotte, NC 28255 ;
; Basis forthe clam: Business Debt
Date(s) debt was incurred __ as
Last 4 digits of account number _ Is the claim subject to offset? a No CO yYes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 7

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Debtor Mystic Transportation, LTD

Case number (if known) 20-20531

 

Name

Nonpriority creditor's name and mailing address
Cathy Lafond
c/o Michael Kiselica
10 Dorrance Street
Providence, RI 02903

Date(s) debt was incurred _

Last 4 digits of account number _

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As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

@ Uniiquidated

a Disputed

$1.00

Basis forthe claim: The extent to which the recovery of the claimant
might exceed available insurance coverage cannot be known at this

time.

Is the claim subject to offset? Bn O Yes

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $481.23
Comcast . C] Contingent
Att: Pres. or Other Officer 0 unliquidated
P.O. Box 6505 C1 pisputed
Chelmsford, MA 01824 B ti
, Basis forthe claim: Busine: ility
Date(s) debt was incurred _ rine claim ss utilit
Last 4 digits of account number _ \s the claim subject to offset? Bn O Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $3,006.41
Commissioner of Revenue Servic C) contingent
450 Columbus Boulevard 0 unliquidated
Hartford, CT 06103 O pisputed
Date(s) debt was incurred _ Basis for the claim: Tax
Last 4 digits of account number _
Is the claim subject to offset? a No [] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai! that apply. $2,168.95
ConnectiCare Inc.
Att: Pres. or Other Officer CO Contingent
175 Scott Swamp Road CO unliquidated
P.O. Box 4050 CO visputea
Farmington, CT 06032-3342 .
; Basis for the claim: Business debt
Date(s) debt was incurred _ OO
Last 4 digits of account number _ Is the claim subject to offset? Mn O Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $80.00
Department of Motor Vehicles O1 contingent
Attn: President/Partner C1] unliquidated
17 Boston Post Rd. (1 pisputed
Waterford, CT 06385
Basis for the claim: Fees
Date(s) debt was incurred _ —
Last 4 digits of account number _ Is the claim subject to offset? Ml No 01 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $0.00
Department of Revenue Services
Att: Revenue Agent CI contingent
C&E Division/Bankruptcy Sectio DO unliquidated
450 Columbus Boulevard C1 pisputed
Hartford, CT 06103
. Basis for the claim: __
Date(s) debt was incurred _
Last 4 digits of account number _ Is the claim subject to offset? Ml No [Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $0.00
Dept. of Environmental Protect C1] contingent
Attn: Commissioner 2 untiquidated
79 Elm Street O pisputed
Hartford, CT 06106 .
; Basis for the claim: Business Debt
Date(s) debt was incurred _
Last 4 digits of account number _ Is the claim subject to offset? a No (Yes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 7

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Debtor Mystic Transportation, LTD

Case number (if known) 20-20531

 

Name

Nonpriority creditor's name and mailing address

Diesel Direct, Inc.

Attn: President/Partner
74 Maple Street
Stoughton, MA 02072

Date(s) debt was incurred __

Last 4 digits of account number __

 

As of the petition filing date, the claim is: Check all that apply. $1,474.97

O Contingent
C[] unliquidated
CO cisputed

Basis for the claim: Trade debt

Is the claim subject to offset? a No (1 yes

 

3.12 Nonpriority creditor's name and mailing address

Easter Seals

Attn: President/Partner
24 Scott Ave.

Norwich, CT 06360

Date(s) debt was incurred _

Last 4 digits of account number __

As of the petition filing date, the claim is: Check aif that apply. $3,334.00

CO contingent
D3 untiquidated
0 Disputed

Basis for the claim: Business debt

Is the claim subject to offset? Mn O Yes

 

Nonpriority creditor's name and mailing address

Estate of Ryan Ferris
822 Mount Pleasant Road
Harrisville, RI 02830

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. $1.00
0 Contingent

@ Uniiquidated

x Disputed

Basis for the claim: The extent to which the recovery of the claimant

might exceed available insurance coverage cannot be known at this
time.

Is the claim subject to offset? Bno Clyes

 

3.14 Nonpriority creditor's name and mailing address
Eversource
Attn: President/CEO
PO Box 56002
Boston, MA 02205-6002

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check ail that apply. $1.00

0 Contingent
D unliquidated
C1 Disputed

Basis for the claim: _

Is the claim subject to offset? Mino Cyes

 

Nonpriority creditor's name and mailing address
Frank Piccone
clo Donald Leone, Esq.
Chinigo, Leone & Maruzo
141 Broadway
Norwich, CT 06360

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $1.00
QO Contingent

CI unliquidated

oO Disputed

Basis for the claim: The extent to which the recovery of the claimant

might exceed available insurance coverage cannot be known at this
time.

is the claim subject to oftset? Ml No O] yes

 

Nonpriority creditor's name and mailing address

Hale Trailer

Attn: President/Partner
222 Cadwell Drive
Springfield, MA 01104

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check al that apply. $1,567.19

O Contingent
2 unliquidated
a] Disputed

Basis for the claim: Business Debt

Is the claim subject to offset? = No Cl Yes

 

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Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 7

Best Case Bankruptcy
Debtor

3.17

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Mystic Transportation, LTD

Case number (if known) 20-20531

 

Name

Nonpriority creditor's name and mailing address
Internal Revenue Service

Att: Revenue Officer

135 High Street

Mail Stop 155

Hartford, CT 06103

Date(s) debt was incurred _

Last 4 digits of account number _

 

As of the petition filing date, the claim is: Check ai that apply. $0.00

Oo Contingent
CO unliquidated
CD pisputed

Basis forthe claim: _

Is the claim subject to offset? MnO Yes

 

Nonpriority creditor's name and mailing address

Manuel H. Pereira
176 Sterling Avenue
Providence, RI 02909

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check ail that apply. $1.00
QO Contingent

WF unliquidated

WF pisputed

Basis for the claim: The extent to which the recovery of the claimant

might exceed available insurance coverage cannot be known at this
time.

is the claim subject to offset? Bn. O Yes

 

 

 

 

 

 

 

 

3.19 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $4,230.00
Penske Truck Leasing Co. LP C1 contingent
Att: General Partner 1 unliquidated
P.O. Box 563 C1 pisputed
Reading, PA 19603-0563 ;
. Basis for the claim: Business Debt
Date(s) debt was incurred _ Tm
Last 4 digits of account number Is the claim subject to offset? Mino Dyes
3.20 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1.00
Shannon E. Salome (2 contingent
291 St. Paul Street MF Uniquidated
North Smithfield, RI 02896 ;
x Disputed
Date(s) debt was incurred _ ; ;
Last 4 digits of account number Basis for the claim: The extent to which the recovery of the claimant
g - might exceed available insurance coverage cannot be known at this
time,
is the claim subject to offset? a No Cl Yes
3.21 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1.00
Silvestre Pereira CJ contingent
38 Rhode Island Avenue ME Uniiquidated
Pawtucket, RI 02860
a Disputed
Date(s) debt was incurred _ . ;
_. Basis for the claim: The extent to which the recovery of the claimant
Last 4 digits of account number _ . . : .
might exceed available insurance coverage cannot be known at this
time.
\s the claim subject to offset? a No UClyes
3.22 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $200.33

Spicer Adanced Gas
Attn: President/Partner
183 East Haddam Rd.
Salem, CT 06420

Date(s) debt was incurred _

Last 4 digits of account number _

Cj Contingent
OD unliquidated
O Disputed

Basis for the clam: Business Debt

is the claim subject to offset? Ml No C1 Yes

 

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Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 7

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Debtor Mystic Transportation, LTD Case number (if known) 20-20531
Name
3.23 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check af that apply. $0.00
State of Connecticut
Department of Labor C] contingent
Employment Security Division 0 untiquidated
200 Folly Brook Blvd C1 pisputed
Wethersfield, CT 06109-1114
Basis f im:
Date(s) debt was incurred _ asis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Ml No (1 yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $0.00
Tax Collector, Stonington CO Contingent
Attn: Revenue Officer 0 untiquidated
152 Elm Street 11 pisputed
Stonington, CT 06378
Basis for the claim:
Date(s) debt was incurred _ asis for ine claim: _
Last 4 digits of account number _ Is the claim subject to offset? a No Dyes
3.25 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aii that apply. $98.67
UPS ; (9 Contingent
Attn: President/Partner C1 unliquidated
PO Box 7247-0244 CO Disputed
Philadelphia, PA 19170 .
Basis for the claim: !
Date(s) debt was incurred _ asis for the claim: Business debt
Last 4 digits of account number _ Is the claim subject to offset? Mn O Yes
3.26 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $770.91
VerizonWireless
Att: Pres. or Other Officer [J Contingent
Bankruptcy Correspondence Unit 2 unliquidated
500 Technology Drive Ste 550 1 Disputed
Weldon Spring, MO 63304 Busi Debt
Basis for the claim: iness Ve
Date(s) debt was incurred __ asis rorane us
Last 4 digits of account number _ Is the claim subject to offset? Ml No O1 ves
3.27 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $0.00

Wequetequock First District
Attn: Billing Dept.

6 Farmhouse Rd.
Stonington, CT 06378

Date(s) debt was incurred __

Last 4 digits of account number __

oO Contingent
C1 unliquidated
C1] pisputed

Basis for the clam: Business Debt

1s the claim subject to offset? a No Clyes

 

List Others to Be Notified About Unsecured Claims

 

4, List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address

44 Andrew Caslowitz , Esq.
Rappoport Degiovanni
989 Waterman Avenue
East Providence, RI 02914

On which fine in Part1 or Part 2 is the
related creditor (if any) listed?

Line 3.18

(9 Not listed. Expiain

Last 4 digits of
account number, if
any

 

42 Nicolas Gorham, Esq.
25 Danielson Pike
P.O. Box 46
North Scituate, RI 02857

Line 3.13.

[1 Not listed. Explain

 

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Schedule E/F:

Creditors Who Have Unsecured Claims

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Debtor Mystic Transportation, LTD Case number (if known) 20-20531

 

 

Name

Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

oo Totalof claim amounts °°.

 

 

 

 

5a. Total claims from Part 1 5a. $ 0.00
5b. Total claims from Part 2 5b. + $ 20,162.65
5c. Total of Parts 1 and 2
Lines 5a + 5b = 5c. Sc. $ 20,162.65
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 7

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Fill in this information to identify the case:

Debtorname Mystic Transportation, LTD

United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT

 

Case number (ifknown) 20-20531

 

) Check if this is an
amended filing

 

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
Ci No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

@ Yes. Fill in ail of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal

Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with

whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

lease
2.1. State what the contract or
lease is for and the nature of
the debtor's interest
State the term remaining Acadia Insurance Company
Attn: President/Partner
List the contract number of any 500 Enterprise Drive, Ste 1A
government contract Rocky Hill, CT 06067
2.2. State what the contract or
lease is for and the nature of
the debtor's interest
State the term remaining Anthem Blue Cross Blue Shield
Att: Pres. or Other Officer
List the contract number of any P.O. Box 6112
government contract Indianapolis, IN 46206-6112
2.3. State what the contract or Month to month 764
lease is for and the nature of New London Turnpike,
the debtor's interest Mystic
State the term remaining
Cove Real Estate
List the contract number of any 96 Rowley Drive
government contract Stonington, CT 06378
2.4, State what the contract or Trailer leases

lease is for and the nature of
the debtor's interest

State the term remaining

List the contract number of any
government contract

Dewal Industries

A Div. of Rogers Corp.
Attn; President/Partenrs
15 Ray Trainor Drive
Narragansett, RI 02882

 

 

Official Form 206G

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Schedule G: Executory Contracts and Unexpired Leases

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Best Case Bankruptcy
Debtor 1

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Mystic Transportation, LTD

 

First Name Middie Name Last Name

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Case number (ifknown) 20-20531

 

ase Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

 

 

 

 

lease
2.5, State what the contract or Warehouse space
lease is for and the nature of
the debtor's interest
State the term remaining Month to month Easter Seals
Attn: President/Partner
List the contract number of any 24 Stott Ave.
government contract Norwich, CT 06360
2.6. State what the contract or
lease is for and the nature of
the debtor's interest
State the term remaining Main Street America Group
Attn: President/Partner
List the contract number of any 55 West Street
government contract Keene, NH 03431
2.7. State what the contract or
lease is for and the nature of
the debtor's interest
State the term remaining Midland National Life Insuranc
Attn: President/Partner
List the contract number of any 1 Sammons Plaza
government contract Sioux Falls, SD 57193
2.8. State what the contract or 2019 Freighliner Box
lease is for and the nature of | Truck lease service
the debtor's interest agreement
State the term remaining Term total 36 months Penske Truck Leasing Co. LP
Att: General Partner
List the contract number of any P.O. Box 563
government contract Reading, PA 19603-0563
2.9, State what the contract or 2016 28' Freightliner
lease is for and the nature of M2106 Stakebody
the debtor's interest
State the term remaining Term total 84 months Penske Truck Leasing Co. LP
Att: General Partner
List the contract number of any P.O. Box 563
government contract Reading, PA 19603-0563
2.10. | State what the contract or 2018 Freighliner

Official Form 206G

lease is for and the nature of M2106SADC DRYVAN

the debtor's interest

Total lease term 84
months
List the contract number of any

State the term remaining

Penske Truck Leasing Co. LP
Att: General Partner

P.O. Box 563

Reading, PA 19603-0563

 

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Schedule G: Executory Contracts and Unexpired Leases

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Debtor 1 Mystic Transportation, LTD Case number (ifknown) 20-20531

 

 

First Name Middle Name Last Name

Eo Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

government contract

 

 

2.11. State what the contract or 2018 Freighliner M2
lease is for and the nature of 106, service agreement
the debtor's interest

 

 

State the term remaining — Total lease term 84 Penske Truck Leasing Co. LP
months Att: General Partner
List the contract number of any P.O. Box 563
government contract Reading, PA 19603-0563
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 3 of 3

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Fill in this information to identify the case:

Debtorname Mystic Transportation, LTD

United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT

 

Case number (ifknown) 20-20531

 

Check if this is an
amended filing

 

 

Official Form 206H
Schedule H: Your Codebtors 12115

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

[I No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
ves

2. in Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

 

 

 

 

Column 1: Cedebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
2.1 Michael Williams 199 Gifford Lane Estate of Ryan Ferris Cp
Bozrah, CT 06334 || E/F 3.13
OG
2.2 Michael Williams 199 Gifford Lane Cathy Lafond Ood
Bozrah, CT 06334 MEF 3.4
OG
2.3. Michael Williams 199 Gifford Lane Shannon E. Salome Op
Bozrah, CT 06334 HEF 3.20
os |
2.4 Michael Williams 199 Gifford Lane Manuel H. Pereira OD
Bozrah, CT 06334 HEF 3.18
OG
2.5 Michael Williams 199 Gifford Lane Silvestre Pereira Op
Bozrah, CT 06334 MEF 3.21
OG
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

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